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                      UNITED STATES DISTRICT COURT
                                    DISTRICT OF NEW JERSEY


    DONELL FREEMAN,
    Plaintiff

                                                    SUMMONS ON AMENDED
                               V.
                                                    COMPLAINT
    KEVIN MCDONNELL, MD, ET AL.,
    Defendant
                                                    CASE
                                                    NUMBER: 3:18−CV−07802−BRM−TJB


       TO: (Name and address of Defendant):




       A lawsuit has been filed against you.

        Unless otherwise prescribed by rule, within 21 days after service of this summons on you
    (not counting the day you received it) −− or 60 days if you are the United States or a United
    States Agency, or an office or employee of the United States described in Fed. R. civ. P. 12
    (a)(2) or (3) −− you must serve on the plaintiff an answer to the attached amended complaint or a
    motion under rule 12 of the Federal Rules of Civil Procedure. The answer or motion must be
    served on the plaintiff or plaintiff`s attorney, whose name and address are:




       If you fail to respond, judgment by default will be entered against you for the relief
    demanded in the amended complaint. You also must file your answer or motion with the court.




     s/ WILLIAM T. WALSH
    CLERK




                                                                ISSUED ON 2019−04−01 15:49:03, Clerk
                                                                           USDC NJD
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                                                    RETURN OF SERVICE
  Service of the Summons and complaint was made by DATE
  me(1)
  NAME OF SERVER (PRINT)                           TITLE

  Check one box below to indicate appropriate method of service



            Served personally upon the defendant. Place where served: _______________________________________
            ________________________________________________________________________
            Left copies thereof at the defendant's dwelling house or usual place of abode with a person of suitable age
            and
            discretion then residing therein.

            Name of person with whom the summons and complaint were left:__________________________________

            Returned unexecuted:_____________________________________________________________________
            _________________________________________________________________________
            ________________________________________________________________________
            Other (specify) :_________________________________________________________________________
            ________________________________________________________________________
            ________________________________________________________________________


                                               STATEMENT OF SERVICE FEES
  TRAVEL                               SERVICES                                        TOTAL

                                                 DECLARATION OF SERVER

              I declare under penalty of perjury under the laws of the United States of America that the foregoing
           information
           contained in the Return of Service and Statement of Service Fees is true and correct.


          Executed on       ___________________                _______________________________________
                                        Date                   Signature of Server

                                                               _______________________________________
                                                               Address of Server
